Case 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 1 of 19

 

 

 

 

 

 

 

 

 

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6907 ay DISTRICT OF NEVADA
# LSS KR pep Ty
Prison Number
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
sop. Mrzzonre i)
Plaintiff, )
)-
vs. ) CASE NO. 3u15-C¥-00499-MMD-WEC
, ) (To be supplied by the Clerk)
1 Chustodr Smith A a OF ) )
)
DA Prana (Now LT-ofAze) =) «~—CIVILRIGHTS COMPLAINT
, ) PURSUANT TO
ay | ) ) 42 US.C. § 1983
) a
) (erase AmeNDEO ComAAINT )

5)Mc Bk-Me Dan rely nox) > JURY TRIAL DEMANAED
6) Mrdox Owes noni) Defendant(s). )

A. JURISDICTION

1) This complaint alleges that the civil rights of Plaintiff, Joseph Mrz2ave
(Print Plaintiff's name)

   

ed, LATA Laer LAO Uf- {002 on the following dates
(institution/city where violation occurred)

(12Mleala-5115 be 32915) 2
(Count I) (Count IT) (Count IIT)

   

 
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Make a copy of this page to provide the below
information if you are naming more than five (5) defendants

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(full name of first defendant) (address if first defe ed ih
and is employed wanda iy Uk Mea) This defendant is sued in(hishh i
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individual

official capacity. (Check one or both). Explain how this defendant was

acting

 

 

2) @ Defendant {We Pum resides cls Pos fy tt Lavon Mi dee
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and is employed asl Mu inand Fre VG ‘] This defendant is sued infhishher
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Case 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 3 of 19

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6) Defendant Ny (by resides at Dopey Tall Larenlly Ai See _.
(full name of first “Ee voe t / (address if firét defendant)
(MD — .
(defendant’s position and titlé, if any)

 

7) Jurisdiction is invoked pursuant to 28 U.S.C. § 1343 (a)(3) and 42 U.S.C. § 1983. If you wish
to assert jurisdiction under different or additional statutes, list them below.

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B. NATURE OF THE CASE
1) Briefly state the background of your case.

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C. CAUSE OF ACTION

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B. NATDRE OF THE CASE Conrewen)
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Case 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 5 of 19

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Case 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 7 of 19

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C. CAUSE OF ACTION

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Pilate of lous. Supporting Facts: [Include all facts you consider important. State the facts clearly, in

your own words, and without citing legal authority or argument. Be sure you describe
exactly what each specific defendant (by name) did to violate your rights].

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Fase 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 8 of 19

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pase 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 9 of 19

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D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

Have you filed other actions in stéte or federal court involving the same or similar facts
as involved in this action? es__ No. If the answer is "Yes", describe each lawsuit.
(If more than one, describe the others on an additional page following the below outline)

a) Defendants: The stole vF Ny nel totuped) mena, Pet ard
b) ele BVO 18b-LkH wee

Name of court and docket number:_# 3'//- £U/- -
c) Disposition (for example fan the case se dismissed, appealed or is it still pending?):

d)

 

 

 

 

 

e) Approximate date it was filed: Seaveg 20,201
f) Approximate date of disposition: Jan -'20 5
Have you filed an action in federal court that was dismissed because it was determined to

be frjvolous, malicious, or failed to state a claim upon which relief could be granted?
"he es__ No. If your answer is "Yes", describe each lawsuit. (If you have had more
than three actions dismissed based on the above reasons, describe the others on an
additional page following the below outline).

Lawsuit #1 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants: WM Alauiahal af Ey Drv

b) Name of court and case number: # 3!07-(V-Quwy

 

c) The case was dismissed because it was found to be (check one): V frivolous:

malicious or failed to state a claim upon which relief could be granted

.. d)—... Issued raised: 134.4% 50, 6%, 9" cdl 144 Daih fo User.

 

e) Approximate date it was filed: G -1-06
f) Approximate date of disposition: bk 07
Lawsuit #2 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants:

 

b) Name of court and case number:

 
3)

 

 

Case 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 13 of 19

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c) The case was dismissed because it was found to be (check one): frivolous:

malicious or failed to state a claim upon which relief could be granted

d) Issued raised:

 

 

e) Approximate date it was filed:

 

f) Approximate date of disposition:

 

Lawsuit #3 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants:

 

b) Name of court and case number:

 

Cc) The case was dismissed because it was found to be (check one): frivolous:

malicious or failed to state a claim upon which relief could be granted
d) Issued raised:

 

 

e) Approximate date it was filed:

 

f) Approximate date of disposition:

 

Have you attempted to resolve the dispute stated in this action by seeking relief from the
proper administrative officials, e.g., have you exhausted available administrative
grievance procedures? Ses __No. If your answer is "No", did you not attempt

administrative relief because the dispute involved the validity ofa(1) _ disciplinary
hearing; (2) __state or federal court decision; (3) __state or federal law or regulation;

(4) parole board decision; or (5)__ other
If your answer is "yes", provide the following information. Grievance Number ¢ ladb-19- -WLIS

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Case 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 14 of 19

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E. REQUEST FOR RELIEF
I believe that I am entitled to the following relief:

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t understand that a false statement or answer to “ question in this declaration will

subject me to penalties of perjury. I DECLARE UNDER PENALTY OF PERJURY
UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT THE
FOREGOING IS TRUE AND CORRECT. See 28 U.S.C. § 1746 and 18 U.S.C. § 1621.

(Name f person who prepared of helped
prepare this complaint if not Plaintiff)

 

 

 

 

 

    

 

 

 

 

 

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CERTIFICATE OF SERVICE BY MAIL
Pursuant to N.R.C.P. Rule 5 (b), I hereby certify that I am the petitioner\Defendant named

| herein and that on this day of 20/J, I mailed a true a correct copy
| of the foregoing document to the following: Ant Bras SUP# 703505

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NEVADA DEPARTMENT OF CORRECTIONS

 

 

 

. SECOND LEVEL GRIEVANCE
NAME: ze L. UIZZOVE .D. NUMBER: OES YF
institution: _VAUC QQ Tren UNIT: 7-BSGBZ.
| REQUEST THE REVIEW OF THE GRIEVANCE, LOG NUMBER , ON THE

 

SECOND LEVEL. THE ORIGINAL COPY OF MY GRIEVANCE AND ALL SUPPORTING DOCUMENTATION
IS ATTACHED FOR REVIEW.

SWORN DECLARATION UMDER PENALTY OF PERJURY

INMATE SIGNATURE: b bh Lifes pate: BoAZAS

 

 

 

 

WHY DISAGREE: = Abel th I MENAT, Ann OL =|"
sn o mt w AR 70/7. "Ths wo fear Q_lysidy

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NMG) Reon WE 10 KH Widow the 4M O_ GASa22. THe CL GIVES
Oud fo tn | Y hae
GRIEVANCE COORDINATOR SIGNATURE: | KLE

 

 

 

 

 

 

 

 

 

 

SECOND LEVEL RESPONSE:
—t
GRIEVANCE UPHELD____. ~GRIEVANCE DENIED ISSUE NOT GRIEVABLE PER AR 740
SIGNATURE: TITLE: DATE:

 

 

 

GRIEVANCE COORDINATOR SIGNATVRE
INMATE SIGNATURE:

——_ a pare: el
DATE: 7-Z7- _

 
   

 

  
   

Original: To inmate when complete, or attached to formal grievance

: To Grievance Coordinator cetwe fae”
Pink: Inmate's receipt when formal grievance filed Ua alba de Ba
Gold: Inmate's initial receipt

JUN zw U EUIL

DOC 3094 (12/01)
Case 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 17 of 19
NEVADA DEPARTMENT OF CORRECTIONS
GRIEVANT’S STATEMENT CONTINUATION FORM

NAME: wipe Nizzen LD. NUMBER: 6544
institution NNY ro unT#é 7 -GGZ.

GRIEVANCE #: Jedb-)4-19475. GRIEVANCE LEVEL: J Me Love!

GRIEVANT’S STATEMENT CONTINUATION: PG. Zz. OF Z.

M.- Uk 0H mg

 

   

 

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Original: Attached to Grievance °
Pink: Inmate’s Copy JUN 26 20

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> DOC - 3097 (01/02)

 
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NEVADA DEPARTMENT OF CORRECTIONS

 

 

MEMORANDUM
TO: Mizzoni, Joseph 68549
FROM: Lisa Walsh, AWP/NNCC

 

DATE: 7/8/2015

SUBJECT: Improper Grievance #: 20062999675
The attached grievance is being returned to you for the following reason(s):

[_JNon-Grievable issue:
[_|State and Federal court decisions
[_|State, Federal, and local laws and regulations
(_]Parole Board Decisions
(_]Lacks Standing

[_JUntimely submission
(INo remedy noted

(Abuse of Inmate Grievance Procedure
[Any language, writing or illustration deemed to be obscene, profane, or
derogatory
[_JA threat of serious bodily injury to a specific individual
(_]Specific claims or incidents previously filed by the same inmate
(|More than four (4) unfounded, frivolous or vexatious grievances per month
[_JAllegations proven to be false

(_}The grievance contains more than one incident, issue, etc.

PxJOther; Specify:__3098 - You must attach the Informal and First Level of this
grievance.

 

 

 

 

You may resubmit your grievance after correcting the above deficiencies. Failure to re-
submit the grievance through the prescribed timeframe shall constitute abandonment.

fl pf 1 Inmate Signature Date:

Cc: Original — Inmate Copy — Grievance File

 

DOC-3098 (10/03)
Case 3:15-cv-00499-MMD-WGC Document 7 Filed 03/25/16 Page 19 of 19

INMATE REQUEST FORM

 

 

 

 

 

 

 

1.) INMATE NAME DOC # 2.) HOUSING UNIT 3.) DATE
| slaseph Mizzny 69549 78-62 4-545
4.) [REQUEST FORM TO: (CHECK BOX) ___ MENTAL HEALTH __ CANTEEN
___ CASEWORKER —_. MEDICAL ___ LAW LIBRARY ___ DENTAL
___ EDUCATION __. VISITING —— SHIFT COMMAND

   

__ LAUNDRY ___ PROPERTY ROOM “eof [Ushi le it .
5.) NAME OF INDIVIDUAL TO CONTACT: _MS Wadsie (h Veate Rebee at all Visto

-B-62 xc AIGFY'

 

6.) REQUEST: ( PRINT BELOW) _FIAM#)

   

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7.) INMATE SIGNA ° ow

 

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8.) RECEIVING STAFF L NAT! RE.

9.) RESPONSE TO INMATE

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10.) RESPONDING STAFF SIGNATURE A LY Se DATE LL a

a DOC - 3012 (REV. 7/01)
